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ATTORNEYS FOR DEFENDANT
MCKESSON CORPORATION

                        IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, NORTHERN DIVISION

 WEBER COUNTY, UTAH,

         Plaintiff,                                         NOTICE OF REMOVAL
 v.

 PURDUE PHARMA L.P., et al.,
                                                          Civil No. 1:18-cv-00089-EJF
        Defendants.



       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441, 1446, and 1367,

Defendant McKesson Corporation (“McKesson”) has removed the above-captioned action from

the Second Judicial District Court for Weber County, Utah to the United States District Court for

the District of Utah. As grounds for removal, McKesson states:

                                  NATURE OF REMOVED ACTION

       1.             On May 24, 2018, Weber County, Utah (“Plaintiff”) filed Weber Cty., Utah v.

Purdue Pharma L.P., et al., in the Second Judicial District Court for Weber County, Utah. The

state court assigned Case No. 180903087 to the action.
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       2.           The Complaint asserts claims against three groups of defendants.

       3.           The first group of defendants consists of Purdue Pharma L.P.; Purdue Pharma,

Inc.; The Purdue Frederick Company, Inc.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.;

Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen

Pharmaceuticals,    Inc.;   Ortho-McNeil-Janssen       Pharmaceuticals,     Inc.   n/k/a    Janssen

Pharmaceuticals, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.; Allergan plc f/k/a

Actavis plc; Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Actavis

LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Insys Therapeutics, Inc.; and Mallinckrodt

LLC (collectively, the “Manufacturer Defendants”). Compl. ¶¶ 55-78.

       4.           The second group of defendants consists of McKesson Corporation, Cardinal

Health Inc., and AmerisourceBergen Corporation (collectively, the “Distributor Defendants”).

Compl. ¶¶ 79-97.

       5.           The third and final group of defendants consists of Perry Fine, Scott Fishman,

and Lynn Webster (collectively, the “Individual Defendants”). Compl. ¶¶ 98-100.

       6.           The Complaint asserts eight causes of action against McKesson and the other

Distributor Defendants: violations of the Utah Consumer Sales Practices Act (First Cause of

Action); public nuisance (Second Cause of Action); fraud, misrepresentation, and fraudulent

concealment (Third Cause of Action); strict products liability (Fourth Cause of Action); negligence

(Fifth Cause of Action); negligent marketing (Sixth Cause of Action); civil conspiracy (Seventh

Cause of Action); and unjust enrichment (Eighth Cause of Action). See Compl. ¶¶ 746-821.

       7.           Although Plaintiff asserts that federal jurisdiction is lacking, Compl. ¶ 53,

Plaintiff’s claims against the Distributor Defendants stem from an alleged duty to “inspect, report,


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or otherwise limit” suspicious orders of prescription opioids, id. ¶ 716. Plaintiff pleads that the

Distributor Defendants breached that duty by “failing to submit suspicious order reports,” Compl.

¶ 718, and by “shipp[ing] millions of doses of highly addictive controlled opioid pain killers into

Weber County” when “[m]any of these orders should have been stopped, or at the very least,

investigated as potential suspicious orders,” id. ¶¶ 728-29.

       8.           Because the duties governing reporting and shipping “suspicious” opioid

orders arise solely from the federal Controlled Substances Act (“CSA”) and its implementing

regulations, Plaintiff pleads that alleged violations of federal law form the basis for its claims.

       9.           On December 5, 2017, the Judicial Panel on Multidistrict Litigation (JPML)

formed a multidistrict litigation (MDL) and transferred opioid-related actions to Judge Dan Polster

in the Northern District of Ohio pursuant to 28 U.S.C. § 1407. See In re Nat’l Prescription Opiate

Litig., MDL No. 2804 (J.P.M.L. Dec. 5, 2017), ECF No. 328. More than 1,000 opioid-related

actions are pending in the MDL.

       10.          McKesson intends to tag this case immediately for transfer to the MDL.

       11.          In accordance with 28 U.S.C. § 1446(a), copies of the docket sheet and all

process, pleadings, and orders served on McKesson in the state court action are attached.

                                     TIMELINESS OF REMOVAL

       12.          Plaintiff served the Complaint on McKesson on or after June 22, 2018.

       13.          In accordance with 28 U.S.C. § 1446(b), this notice of removal is timely filed

within 30 days of service of Plaintiff’s Complaint. See Murphy Bros., Inc. v. Michetti Pipe

Stringing, Inc., 526 U.S. 344, 354-56 (1999) (30-day removal period begins to run upon service of

summons and complaint).


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        14.         “If defendants are served at different times, and a later-served defendant files

a notice of removal, any earlier-served defendant may consent to the removal even though that

earlier-served defendant did not previously initiate or consent to removal.”             28 U.S.C.

§ 1446(b)(2)(C).

        15.         McKesson has not responded to the Complaint in state court. McKesson’s

response is not due until September 13, 2018, pursuant to a stipulation between Plaintiff,

McKesson, and certain other Defendants.

                                        PROPRIETY OF VENUE

        16.         Venue is proper in this district under 28 U.S.C. § 1441(a) because the state

court where the suit has been pending is in this district.

                                          BASIS OF REMOVAL

        17.         Removal is proper pursuant to 28 U.S.C. §§ 1441 and 1331 because Plaintiff’s

claims present a substantial federal question under the CSA, 21 U.S.C. §§ 801, et seq.

        18.         The original jurisdiction of the district courts includes jurisdiction over “all

civil actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. §

1331.

        19.         “Whether a case arises under federal law for purposes of § 1331” is governed

by the “well-pleaded complaint rule.” Holmes Grp., Inc. v. Vornado Air Circulation Sys., Inc.,

535 U.S. 826, 830 (2002) (internal quotations omitted).

        20.         Even when state law creates the causes of action, a complaint may raise a

substantial question of federal law sufficient to warrant removal if “vindication of a right under

state law necessarily turn[s] on some construction of federal law.” Merrell Dow Pharm. Inc., v.


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Thompson, 478 U.S. 804, 808-09 (1986) (citation omitted); see also Gully v. First Nat’l Bank, 299

U.S. 109, 112 (1936) (“To bring a case within [§ 1441], a right or immunity created by the

Constitution or laws of the United States must be an element, and an essential one, of the plaintiff’s

cause of action.”).1

        21.            “[F]ederal jurisdiction over a state law claim will lie if a federal issue is:

(1) necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal

court without disrupting the federal-state balance approved by Congress.” Gunn v. Minton, 568

U.S. 251, 258 (2013); see Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308,

315 (2005). “Where all four of these requirements are met . . . jurisdiction is proper because there

is a serious federal interest in claiming the advantages thought to be inherent in a federal forum,



        1
          A defendant need not overcome any artificial presumptions against removal or in favor
of remand. In Breuer v. Jim’s Concrete of Brevard, Inc., 538 U.S. 691 (2003), the Supreme Court
unanimously held that the 1948 amendments to the general federal removal statute, 28 U.S.C.
§ 1441(a), trumped the Court’s prior teachings in Shamrock Oil & Gas Corp. v. Sheets, 313 U.S.
100 (1941), and its antecedents, that federal jurisdictional statutes must be strictly construed
against any recognition of federal subject matter jurisdiction, with every presumption indulged in
favor of remand. Id. at 697-98 (“[W]hatever apparent force this argument [of strict construction
against removal] might have claimed when Shamrock was handed down has been qualified by later
statutory development. . . . Since 1948, therefore, there has been no question that whenever the
subject matter of an action qualifies it for removal, the burden is on a plaintiff to find an express
exception.”) (emphasis added); see also Exxon Mobil Corp. v Allapattah Servs., Inc., 545 U.S. 546,
558 (2005) (construing 1990 enactment of 28 U.S.C. § 1367, authorizing supplemental federal
subject matter jurisdiction, and holding: “We must not give jurisdictional statutes a more expansive
interpretation than their text warrants; but it is just as important not to adopt an artificial
construction that is narrower than what the text provides . . . Ordinary principles of statutory
construction apply.”) (citation omitted).
         More recently, a unanimous Supreme Court in Mims v. Arrow Financial Services, LLC
held: “Divestment of district court jurisdiction should be found no more readily than divestment
of state court jurisdiction, given the longstanding and explicit grant of federal question jurisdiction
in 28 U.S.C. § 1331.” 565 U.S. 368, 379 (2012) (brackets, citations, and internal quotation marks
omitted).


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which can be vindicated without disrupting Congress’s intended division of labor between state

and federal courts.” Gunn, 568 U.S. at 258 (internal quotations omitted).

       22.           As set forth below, this case meets all four requirements.2

       23.           Although Plaintiff ostensibly pleads some of its theories of recovery against

McKesson as state law claims, it bases the underlying theory of liability on McKesson’s alleged

violations of federal law or alleged duties arising out of federal law, specifically the CSA, i.e., that

a portion of its otherwise lawful shipments of prescription opioids were unlawful because they

were shipped in fulfillment of suspicious orders that McKesson allegedly had a duty to identify,

report, and then not ship. Compl. ¶¶ 713-18, 726, 728-29.

       24.           The source of the asserted legal duty to monitor and report suspicious orders

of controlled substances is the CSA, 21 U.S.C. §§ 801, et seq., and its implementing regulations.

See Compl. ¶ 739 (identifying 21 C.F.R. § 1301.74(b) as source of duty to report suspicious orders

to the Drug Enforcement Administration of the United States Department of Justice (“DEA”)); id.

¶ 742 (summarizing Distributor Defendants’ “statutory and regulatory duties to ‘maintain effective

controls against diversion’ and ‘design and operate a system to disclose to the registrant suspicious

orders of controlled substances,’” as required by 21 U.S.C. §§ 823-24 and the DEA).

       25.           The source of the asserted legal duty to suspend shipments of suspicious orders

is 21 U.S.C. § 823(b) and (e), as interpreted by the DEA. Specifically, DEA interprets the public

interest factors for registering distributors under the CSA, 21 U.S.C. § 823(b) and (e), to impose a



       2
         The substantiality inquiry as it pertains to federal question jurisdiction is distinct from the
merits of the case and has no bearing on the strength of Plaintiff’s underlying claims. See Gunn v.
Minton, 568 U.S. 251, 260 (2013) (“The substantiality inquiry under Grable looks . . . to the
importance of the issue to the federal system as a whole.”).

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responsibility on distributors to exercise due diligence to avoid filling suspicious orders that might

be diverted to unlawful uses. See Masters Pharm., Inc. v. DEA, 861 F.3d 206, 212-13 (D.C. Cir.

2017) (citing In re Southwood Pharm., Inc., Revocation of Registration, 72 Fed. Reg. 36,487,

36,501, 2007 WL 1886484 (Drug Enf’t Admin. July 3, 2007), as source of DEA’s “Shipping

Requirement”).

       26.          Plaintiff’s theories of liability against McKesson and other Distributor

Defendants, as pled in the Complaint, are predicated on allegations that the Distributor Defendants

breached alleged duties under the CSA to implement effective controls to detect and report

“suspicious” pharmacy orders for prescription opioids and—crucial to Plaintiff’s claims—to

refuse to ship such orders to Utah pharmacies.

       27.          Specifically, Plaintiff pleads that McKesson and the other Distributor

Defendants violated federal law with, among others, the following allegations:

               a.      “The Defendants had a duty to notice suspicious or alarming orders of

                       opioid pharmaceuticals and to report suspicious orders to the proper

                       authorities and governing bodies including the DEA and the Utah

                       Department of Health.” Compl. ¶ 713.3

               b.      “The Defendants knew or should have known that they were supplying vast

                       amounts of dangerous drugs in Weber County that were already facing

                       abuse, diversion, misuse, and other problems associated with the opioid




       3
         Plaintiff fails to identify any Utah law or regulation supporting this alleged duty to
report suspicious orders to the Utah Department of Health, and there is no state provision
analogous to the federal CSA’s reporting requirement. See infra note 4.

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         epidemic. [. . .] The Defendants failed in their duty to take any action to

         prevent or reduce the distribution of these drugs.” Id. ¶¶ 714-15.

    c.   “The Defendants [. . .] had a duty to inspect, report, or otherwise limit the

         manufacture and flow of these drugs to Weber County. [. . .] The Defendants

         [. . .] intentionally failed in this duty.” Id. ¶¶ 716-17.

    d.   “The Defendants have displayed a continuing pattern of failing to submit

         suspicious order reports.” Id. ¶ 718.

    e.   “In 2008, McKesson paid a $13.25 million fine to settle similar claims

         regarding suspicious orders from internet pharmacies. [. . .] Despite these

         prior penalties, McKesson's pattern of failing to report suspicious orders

         continued for many years.” Id. ¶ 719-20.

    f.   “Despite the charges, fines, and penalties brought against the Distributor

         Defendants in the past, they continued to fail to report suspicious orders or

         prevent the flow of prescription opioids, including into Weber County.” Id.

         ¶ 726.

    g.   “Between the years in question, including 2007 through 2016, the

         Distributor Defendants have shipped millions of doses of highly addictive

         controlled opioid pain killers into Weber County. [. . .] Many of these orders

         should have been stopped, or at the very least, investigated as potential

         suspicious orders.” Id. ¶ 728-29.




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               h.     “Upon information and belief, the Defendants did not refuse to

                      manufacture, ship, or supply any opioid medications to any pharmacy in

                      Weber County from 2007 to the present.” Id. ¶ 732.

               i.     “The DEA has provided briefings to each of the Defendant Distributors and

                      conducted a variety of conferences regarding their duties under federal

                      law,” id. ¶ 740, including the duty to inform the DEA of suspicious orders

                      and a “statutory responsibility to exercise due diligence to avoid filling

                      suspicious orders,” id. ¶¶ 741-42.

               j.     “As a result of the decade-long refusal by the Defendant Distributors to

                      abide by federal law, the DEA has repeatedly taken administrative action to

                      force compliance. The United States Department of Justice, Office of the

                      Inspector General, Evaluation and Inspections Divisions, reported that the

                      DEA issued final decisions in 178 registrant actions between 2008 and

                      2012. The Office of Administrative Law Judges issued a recommended

                      decision in a total of 177 registrant actions before the DEA issued its final

                      decision, including 76 actions involving orders to show cause and 41 actions

                      involving immediate suspension orders.” Id. ¶ 743.

       28.          Plaintiff does not and cannot identify a state law that specifically requires

wholesale pharmaceutical distributors to “inspect, report, or otherwise limit” prescription opioid

orders from registered pharmacies in Weber County. Id. ¶ 716.4


       4
        None of the Utah laws or regulations that Plaintiff cites in the Complaint creates an
independent obligation to detect, report, or refuse to fill suspicious orders. See Compl. ¶ 708


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       29.          The federal question presented by Plaintiff’s claims therefore is “(1)

necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal

court without disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258.

       30.          First, Plaintiff’s state law claims “necessarily raise” a federal question because

“resolution of this case turns on issues of federal law.” Evergreen Square of Cudahy v. Wisconsin

Hous. & Econ. Dev. Auth., 776 F.3d 463, 467 (7th Cir. 2015); see also N. Carolina ex rel. N.

Carolina Dep’t of Admin. v. Alcoa Power Generating, Inc., 853 F.3d 140, 146 (4th Cir. 2017)

(“Regardless of the allegations of a state law claim, where the vindication of a right under state

law necessarily turns on some construction of federal law, the claim arises under federal law and

thus supports federal question jurisdiction under 28 U.S.C. § 1331.”) (alteration and internal

quotation omitted); Virgin Islands Hous. Auth. v. Coastal Gen. Constr. Servs. Corp., 27 F.3d 911,

916 (3d Cir. 1994) (“[A]n action under 28 U.S.C. § 1331(a) arises only if the complaint seeks a

remedy expressly granted by federal law or if the action requires construction of a federal statute,

or at least a distinctive policy of a federal statute requires the application of federal legal

principles.”) (emphasis added).




(citing Utah Admin. Code R156-17b-615(3)(f) (requiring distributors to “be equipped with
security measures, systems and procedures necessary to provide reasonable security against theft
and diversion of prescription drugs”); Utah Admin. Code R156-17b-615(15) (requiring
distributors to “establish, maintain and adhere to written policies and procedures” for the storage
and distribution of prescription drugs, including policies for reporting losses or thefts); Utah
Admin. Code R156-17b-625 (requiring annual reports to state authorities of the number of opiate
doses dispensed and other basic statistical data unrelated to suspicious orders)). Accordingly, even
when Plaintiff purports to rely on state law, the only source of the alleged duties is the federal
CSA. See Compl. ¶ 791 (“Defendants were negligent in disclosing to the County suspicious orders
for opioids pursuant to the aforementioned Utah statutes.”).

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       31.          As pled, Plaintiff’s claims against McKesson and the other Distributor

Defendants require Plaintiff to establish that Distributor Defendants breached duties necessarily

defined by reference to federal law, by failing to report and stop shipments of otherwise lawful

orders of controlled substances to Utah. See Compl. ¶ 713, 715 (Defendants had a “duty to . . .

report suspicious orders to the proper authorities” and a “duty to . . . prevent or reduce the

distribution of these drugs”). In the absence of analogous duties under Utah law, the Complaint

necessarily raises a federal issue—namely, whether McKesson violated the federal CSA.

       32.          Although plaintiffs “may avoid federal jurisdiction by exclusive reliance on

state law,” Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987) (emphasis added), Plaintiff here

alleges violations of federal law as the basis for its state-law claims.5 Plaintiff’s Complaint

necessarily raises a federal issue—namely, whether Distributor Defendants violated the CSA by

failing to report, prevent, or halt suspicious orders for prescription opioids.

       33.          Second, this federal issue is “actually disputed” because the parties disagree as

to the scope and existence of alleged duties arising under the CSA and whether Distributor




       5
         It is not necessary for federal jurisdiction that McKesson establish that all of Plaintiff’s
counts against it raise a federal question. Even if Plaintiff could prove one or more of those counts
without establishing a violation of federal law, this Court still has federal question jurisdiction:
“Nothing in the jurisdictional statutes suggests that the presence of related state law claims
somehow alters the fact that [the] complaints, by virtue of their federal claims, were ‘civil actions’
within the federal courts’ ‘original jurisdiction.’” City of Chicago v. Int’l College of Surgeons,
522 U.S. 156, 166 (1997).
        Because the Court has original jurisdiction over at least one count here, it has supplemental
jurisdiction over Plaintiff’s remaining counts against McKesson and the other Distributor
Defendants, which are so related that they “form part of the same case or controversy.” 28 U.S.C.
§ 1367(a).



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Defendants violated duties that, as Plaintiff pleads them, arise only under the CSA. Indeed, this

federal issue is the “central point of dispute.” Gunn, 568 U.S. at 259.

       34.          Third, the federal issue presented by Plaintiff’s claims is “substantial.” “The

substantiality inquiry under Grable looks . . . to the importance of the issue to the federal system

as a whole.” Gunn, 568 U.S. at 260. Among other things, the Court must assess whether the

federal government has a “strong interest” in the federal issue at stake and whether allowing state

courts to resolve the issue will “undermine the development of a uniform body of [federal] law.”

Id. at 260-62 (internal citations omitted). As the Supreme Court explained in Grable, “[t]he

doctrine captures the commonsense notion that a federal court ought to be able to hear claims

recognized under state law that nonetheless turn on substantial questions of federal law, and thus

justify resort to the experience, solicitude, and hope of uniformity that a federal forum offers on

federal issues.” 545 U.S. at 312.

       35.          Plaintiff’s theories of Distributor Defendants’ liability necessarily require that

a court determine the scope and existence of Distributor Defendants’ obligations under federal law

because regulation of controlled substances is first and foremost federal regulation. Indeed,

Congress designed the CSA with the intent of reducing illegal diversion of controlled substances,

“while at the same time providing the legitimate drug industry with a unified approach to narcotic

and dangerous drug control.” H.R. Rep. No. 1444, 91st. Cong., 2nd Sess. 1970, as reprinted in

1970 U.S.C.C.A.N. 4566, 4571-72.

       36.          Plaintiff’s theories of Distributor Defendants’ liability thus “involve aspects of

the complex federal regulatory scheme applicable to” the national prescription drug supply chain,

Broder v. Cablevision Sys. Corp., 418 F.3d 187, 195 (2d Cir. 2005), and are “sufficiently


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significant to the development of a uniform body of [controlled substances] regulation to satisfy

the requirement of importance to the federal system as a whole,” NASDAQ OMX Grp., Inc. v. UBS

Sec., LLC, 770 F.3d 1010, 1024 (2d Cir. 2014) (internal quotation omitted).6 The CSA itself notes

that “illegal importation, manufacture, distribution, and possession and improper use of controlled

substances have a substantial and detrimental effect on the health and general welfare of the

American people” and that “[f]ederal control of the intrastate incidents of the traffic in controlled

substances is essential to the effective control of the interstate incidents of such traffic.” 21 U.S.C.

§ 801. Furthermore, “minimizing uncertainty over” reporting obligations under the CSA “fully

justifies resort to the experience, solicitude, and hope of uniformity that a federal forum offers on

federal issues.” New York ex rel. Jacobson v. Wells Fargo Nat’l Bank, N.A., 824 F.3d 308, 318

(2d Cir. 2016) (alteration and citation omitted); Rhode Island Fishermen's All., Inc. v. Rhode Island

Dep't Of Envtl. Mgmt., 585 F.3d 42, 51 (1st Cir. 2009) (noting, in a case involving state law claims

arising out of the implementation of an interstate fisheries compact, “there is a substantial federal

interest in ensuring that actions taken in pursuance of the Management Act receive the uniformity

of interpretation that a federal forum offers.”).




       6
         Plaintiff’s attempt to enforce the CSA raises a substantial federal question even though
the CSA does not provide for a private right of action. In 2005, in Grable, the Supreme Court
held that lack of a federal cause of action does not foreclose federal question jurisdiction. The
Court stated that applying Merrell Dow too narrowly would both “overturn[ ] decades of
precedent,” and “convert[ ] a federal cause of action from a sufficient condition for federal
question jurisdiction into a necessary one.” Grable, 545 U.S. at 317; see also, e.g., Ranck v. Mt.
Hood Cable Regulatory Comm’n, 2017 WL 1752954, at *4-*5 (D. Or. May 2, 2017) (state law
claims based on violations of Cable Communications Policy Act raise substantial federal
questions and satisfy Grable even though no private right of action exists under Act).


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        37.          Removal is particularly appropriate here because Plaintiff’s action is but one

of more than 1,300 similar actions nationwide, of which over 1,000 are pending in the MDL in the

Northern District of Ohio. Indeed, opioid use and addiction is not merely a local issue, and Plaintiff

acknowledges that many of its allegations are “national in scope.” See, e.g., Compl. ¶¶ 347, 435,

621, 633. The MDL judge, Judge Polster, is attempting to achieve a national solution to a

nationwide problem.7

        38.          Fourth, and finally, the federal issue also is capable of resolution in federal

court “without disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258.

Federal courts exclusively hear challenges to DEA authority to enforce the CSA against

distributors, and litigating this case in a state court runs the risk of the state court applying federal

requirements inconsistently with the manner in which the federal agency tasked with enforcing the

CSA—the DEA—applies them. Federal jurisdiction is further warranted given the hundreds of

similar actions pending in the MDL, which “[i]n the aggregate . . . have the potential to

substantially influence the scope and success” of the federal statutory scheme to regulate controlled

substances. Evergreen Square of Cudahy, 776 F.3d at 468. “Accordingly, the federal government

has a strong interest in these issues being decided according to uniform principles[,]” which “will

best be achieved by allowing suit in federal courts.” Id.

        39.          In summary, removal of this action is appropriate because Plaintiff’s “state-

law claim[s] necessarily raise a stated federal issue, actually disputed and substantial, which a



        7
         Less than two months after the MDL was created, Judge Polster convened the first day-
long settlement conference on January 31, 2018. Judge Polster required attendance by party
representatives and their insurers and invited attendance by attorneys general and representatives
of the DEA and FDA.

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federal forum may entertain without disturbing any congressionally approved balance of federal

and state judicial responsibilities.” Grable, 545 U.S. at 314; see also, e.g., Evergreen Square of

Cudahy, 776 F.3d at 467-68 (state law claims alleging defendants’ breached a contract for Section

8 housing by failing to approve rent increases satisfy Grable, raising issues that the “federal

government has a strong interest in . . . being decided according to uniform principles.”); New York

ex rel. Jacobson, 824 F.3d at 315-18 (state law claims based on defendant’s alleged violation of

Internal Revenue Code satisfy Grable); NASDAQ, 770 F.3d at 1031 (state law claims premised on

violations of Exchange Act “necessarily raise disputed issues of federal law of significant interest

to the federal system as a whole”); Gilmore v. Weatherford, 694 F.3d 1160, 1176 (10th Cir. 2012)

(“Although plaintiffs could lose their conversion claim without the court reaching the federal

question, it seems that they cannot win unless the court answers that question. Thus, plaintiffs’

‘right to relief necessarily depends on resolution of a substantial question of federal law.’”)

(citation omitted); Broder, 418 F.3d at 196 (state law claims premised on cable provider’s alleged

violations of Communication Act’s uniform rate requirement satisfy “Grable test for federal

question removal jurisdiction”).

       40.          To the extent that the Court determines that some, but not all, of Plaintiff’s

claims state a substantial federal question, the Court can evaluate whether to retain the non-federal

claims against the Manufacturer Defendants, the Distributor Defendants, and the Individual

Defendants under the doctrine of supplemental jurisdiction. 28 U.S.C. § 1367(a).

                                     OTHER REMOVAL ISSUES

       41.          Pursuant to 28 U.S.C. § 1446(b)(2)(A), all defendants that have been

properly joined and served in this action consent to removal.


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        42.         The following Defendants have been served in this action and consent to

removal, as indicated by their counsel’s signatures below: Purdue Pharma L.P.; Purdue Pharma,

Inc.; The Purdue Frederick Company, Inc.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.;

Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen

Pharmaceuticals,     Inc.;   Ortho-McNeil-Janssen        Pharmaceuticals,     Inc.    n/k/a   Janssen

Pharmaceuticals, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.; Watson

Laboratories, Inc.; Actavis LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Insys

Therapeutics, Inc.; Cardinal Health Inc.; and AmerisourceBergen Corporation8.

        43.         The following Defendants have not been properly served, and thus their

consent to removal is not required: Allergan plc f/k/a Actavis plc; Allergan Finance, LLC f/k/a

Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.; Mallinckrodt LLC; Perry Fine; Scott Fishman;

and Lynn Webster. Nevertheless, they consent to removal. The Defendants listed in this paragraph

expressly reserve, and do not waive, all defenses related to service of process and personal

jurisdiction.

        44.         By filing this Notice of Removal, neither McKesson nor any other Defendant

waives any defense that may be available to it, and Defendants expressly reserve all such defenses,

including those related to personal jurisdiction and service of process.

        45.         If any question arises as to propriety of removal to this Court, McKesson

requests the opportunity to present a brief and oral argument in support of its position that this case

has been properly removed.



        8
         By consenting to removal, AmerisourceBergen Corporation does not concede that it is a
proper party to this action.

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       46.          Pursuant to 28 U.S.C. § 1446(d), McKesson will promptly file a copy of

this Notice of Removal with the clerk of the state court where the lawsuit has been pending and

serve notice of the filing of this Notice of Removal on Plaintiff.

       47.          McKesson reserves the right to amend or supplement this Notice.

       WHEREFORE, McKesson removes this action, pending in the Second District Court of

the State of Utah, Ogden Division, Case No. 180903087, to this Court.

       DATED this 23rd of July, 2018.

                                                      MARSHALL OLSON & HULL, PC

                                                      BY:     /s/ Trevor C. Lang
                                                              ERIK A. OLSON
                                                              TREVOR C. LANG

                                                      ATTORNEYS FOR DEFENDANT
                                                      MCKESSON CORPORATION

CONSENT FROM OTHER DEFENDANTS:

 /S/ WHITNEY HULET KROGUE                              /S/ D. MATTHEW MOSCON
 KAMIE F. BROWN                                        D. MATTHEW MOSCON
 KRISTINE M. LARSEN                                    STOEL RIVES LLP
 WHITNEY HULET KROGUE
 RAY QUINNEY & NEBEKER PC                              ATTORNEY FOR DEFENDANT CARDINAL
                                                       HEALTH INC.
 ROBERT A. NICHOLAS
 SHANNON E. MCCLURE
 REED SMITH LLP

 ALVIN L. EMCH
 JACKSON KELLY PLLC

 ATTORNEYS FOR DEFENDANT
 AMERISOURCEBERGEN CORPORATION




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/S/ ELISABETH M. MCOMBER                  /S/ BRENT O. HATCH
ELISABETH M. MCOMBER                      BRENT O. HATCH
SNELL & WILMER LLP                        LARA A. SWENSEN
                                          DILLON P. OLSON
SHEILA L. BIRNBAUM                        HATCH, JAMES, & DODGE, PC
MARK S. CHEFFO
HAYDEN A. COLEMAN                         STEVEN A. REED
DECHERT LLP                               WENDY WEST FEINSTEIN
                                          BRIAN ERCOLE
ATTORNEYS FOR DEFENDANTS PURDUE           MORGAN, LEWIS & BOCKIUS LLP
PHARMA L.P.; PURDUE PHARMA INC.;
AND THE PURDUE FREDERICK COMPANY, INC.    ATTORNEYS FOR DEFENDANTS CEPHALON,
                                          INC., TEVA PHARMACEUTICALS USA, INC.,
                                          ACTAVIS LLC, ACTAVIS PHARMA, INC. F/K/A
                                          WATSON PHARMA, INC., AND WATSON
                                          LABORATORIES, INC.

/S/ ANDREW G. DEISS                       /S/ PERRY S. CLEGG
ANDREW G. DEISS                           PERRY S. CLEGG
WESLEY D. FELIX                           MATTHEW R. LEWIS
BRENDA WEINBERG                           MARCIA FULLER DURKIN
DEISS LAW PC                              KUNZLER, PC

CHARLES C. LIFLAND                        JOHN A. FREEDMAN
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ATTORNEYS FOR DEFENDANTS JOHNSON &        ATTORNEYS FOR DEFENDANTS ENDO HEALTH
JOHNSON, JANSSEN PHARMACEUTICALS, INC.,   SOLUTIONS INC. AND ENDO
JANSSEN PHARMACEUTICA, INC. N/K/A         PHARMACEUTICALS INC.
JANSSEN PHARMACEUTICALS,
INC., AND ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC. N/K/A JANSSEN
PHARMACEUTICALS, INC.




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/S/ DONNA WELCH                             /S/ GEOFFREY C. HASLAM
DONNA WELCH, P.C.                           GEOFFREY C. HASLAM
MARTIN L. ROTH                              TYLER V. SNOW
TIMOTHY KNAPP                               CHRISTENSEN & JENSEN, PC
JENNIFER G. LEVY, P.C.
KIRKLAND & ELLIS LLP                        ROCKY C. TSAI
                                            JENNIFER PANTINA
ATTORNEYS FOR DEFENDANTS ALLERGAN PLC       ROPES & GRAY LLP
F/K/A ACTAVIS PLC AND ACTAVIS, INC. F/K/A
WATSON PHARMACEUTICALS, INC.
                                            ATTORNEYS FOR DEFENDANT MALLINCKRODT
                                            LLC

/S/ J. RYAN MITCHELL                        /S/ MARK A. NICKEL
J. RYAN MITCHELL                            MARK A. NICKEL
MITCHELL BARLOW & MANSFIELD, PC             GORDEN REES SCULLY MANSUKHANI LLP

J. MATTHEW DONOHUE                          ATTORNEY FOR DEFENDANTS PERRY FINE,
JOSEPH L. FRANCO                            SCOTT FISHMAN, AND LYNN WEBSTER
HOLLAND & KNIGHT LLP

ATTORNEYS FOR DEFENDANT INSYS
THERAPEUTICS, INC.




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                                CERTIFICATE OF SERVICE

       I hereby certify that this 23rd day of July, 2018, I caused the foregoing NOTICE OF

REMOVAL to be filed via the Court’s electronic system, which electronically transmitted

notice of such filing to all counsel of record, and was emailed and mailed via U.S. mail as

follows:

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                                                     /s/ Trevor C. Lang




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